                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


  SDC FINANCIAL, LLC and                         )
  SMILEDIRECTCLUB, LLC,                          )
                                                 )
                                                 )
                 Plaintiffs,                     ) Civil Action No. 3:19-cv-0525
          v.                                     )
                                                 )
                                                 ) Chief Aleta A. Trauger
  MARTIN BREMER, SMILE STORE,                    )
  LLC, SMILE STORE SUPPORT                       )
  SERVICES, LLC, and MH, D.M.D. OF               )
  TENNESSEE, PLLC,                               )
                                                 )
                                                 )
                 Defendants.                     )



          DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
    MOTION TO DISMISS COUNTS III AND V-X OF PLAINTIFFS’ COMPLAINT


                                      INTRODUCTION

       This action is but one in a campaign of several in which Plaintiffs seek to intimidate and

harass their nascent competition with meritless claims of inducing breaches of unseen,

unrevealed agreements with a party that is not present in the lawsuit. Defendants Martin Bremer,

Smile Store, LLC (“Smile Store”), Smile Store Support Services, LLC (“Smile Support”) and

MH, D.M.D. of Tennessee, PLLC (“MH”) (Bremer, Smile Store, Smile Support, and MH

collectively referred to as “Defendants”) have opened a single store called “Smilestore” in the

Green Hills Mall. Other than the fact that Smilestore is located in a mall, it is otherwise a

traditional dental business offering the services of an orthodontist to straighten teeth. MH

D.M.D. is a professional limited liability corporation that is owned by a licensed orthodontist,

Dr. Miriam Hall, and is staffed by a licensed dentist, Dr. Alicia Gordon. Dr. Gordon works on-



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site at Smilestore and treats patients on a daily basis. Defendant Martin Bremer is an officer of

Smile Support, which provides administrative services to MH D.M.D. When appropriate, Dr.

Gordon prescribes Invisalign products to her patients and purchases them from a company called

Align.

         Marty Bremer, Smile Support, and MH D.M.D. state as follows in Support of their

Motion to Dismiss Counts III and V-X of Plaintiffs’ Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(6):

               Plaintiffs cannot state a claim under the Tennessee Trademark Dilution Act

                (Count III) because their SMILESHOP mark is not famous;

               For trade secret misappropriation (Counts V and VI), a person’s remembered

                information and relationships are not protected information;

               Plaintiffs’ claims for procurement/inducement of breach of contract (Counts VII

                and VIII), intentional interference with existing/prospective business relationships

                (Count IX), and unjust enrichment (Count X) are preempted by the Tennessee

                Uniform Trade Secret Act (“TUTSA”);

               Plaintiffs’ procurement of breach of contract and intentional interference with

                existing business relationship claims fail to state a claim and are contradicted by

                Plaintiffs’ own allegations; and

               Plaintiffs’ claims for unjust enrichment (Count X) fail as a matter of law because

                Plaintiffs did not willingly confer any benefits to Defendants.

         Finally, as numerous of Plaintiffs’ claims in this action are directed at the allegedly

improper actions and breaches of contract by Plaintiffs’ former member, Align Technology, Inc.




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(“Align”), Counts III and V-X should be dismissed pursuant to Fed. R. Civ. P. 12(b)(7) and 19

for Plaintiffs’ failure to join Align as an indispensable party.

                              FACTS AS ALLEGED IN THE COMPLAINT1

           Plaintiffs sell clear orthodontic aligners in the direct-to-consumer (“DTC”) market.

(Complaint, ¶ 2). As part of its DTC sales to consumers, in May 2016, Plaintiffs opened a

SMILESHOP retail store in Nashville, Tennessee. (Id., ¶ 5). In July 2016, Align became a

member of Plaintiff SmileDirectClub, LLC (“SDC”) and became the exclusive third-party

supplier of aligners to Plaintiffs. (Id., ¶ 25). At the time Align became a member of SDC,

Defendant Bremer worked for Align as its Global Process Owner (Plan-to-Make). (Id., ¶ 29).

As part of his employment with Align, Bremer worked with Plaintiffs to develop the

manufacturing process that Align used to fulfill Plaintiffs’ aligner orders. (Id.). In May 2017,

after Align asked him to relocate to San Jose, Bremer left his employment and formed Smile

Store, which along with Smile Store Support Services, LLC and MH DMD of TN, PLLC,

operate a single orthodontic office under the SMILESTORE mark at the Green Hills Mall in

Nashville, Tennessee. (Id., ¶ 32-33).

                                            STANDARD OF REVIEW

           Federal Rule of Civil Procedure 12(b)(6) requires that a plaintiff provide enough facts to

state a claim for relief that is plausible on its face. To survive a motion to dismiss pursuant to

Rule 12(b)(6), the plaintiff must therefore “allege facts that, if accepted as true, are sufficient ‘to

raise a right to relief above the speculative level,’ and to ‘state a claim to relief that is plausible

on its fac[e].’” Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 609 (6th Cir. 2009) (citations

omitted) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)). “Threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements, do not

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    Defendants accept these facts as true for the purpose of this motion only.

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suffice.” Steele v. Edwards, No. 3:15-CV-00818, 2016 WL 7325333, at *1 (M.D. Tenn. Dec. 16,

2016). A plaintiff’s “obligation to provide the grounds of his entitlement to relief requires more

than labels or conclusions, and a formulaic recitation of the elements of a cause of action will not

do.” Twombly, 550 U.S. at 555 (internal quotation marks and citations omitted). Although the

Court must accept as true all factual allegations made in the Complaint, it “need not accept as a

true legal conclusions or unwarranted factual inferences.” Koffmyer v. Maas, 436 F.3d 684, 689

(6th Cir. 2006). Applying these standards to the case at bar, all of Plaintiffs’ non-trademark

infringement claims must be dismissed.

                                          ARGUMENT

       I.      COUNT III SHOULD BE DISMISSED AS PLAINTIFFS’ MARK IS NOT
               FAMOUS

       In Count III, Plaintiffs allege claims under the Tennessee Trademark Dilution Act, Tenn.

Code Ann. § 47-25-513, which provides:


            (a) The owner of a mark which is famous in this state shall be entitled,
            subject to the principles of equity and upon such terms as the court deems
            reasonable, to an injunction against another person's commercial use of a
            mark or trade name, if such use begins after the mark has become famous and
            causes dilution of the distinctive quality of the mark, and to obtain such other
            relief as is provided in this section. In determining whether a mark is
            distinctive and famous, a court may consider factors including, but not limited
            to:

               (1) The degree of inherent or acquired distinctiveness of the mark in this
               state;

               (2) The duration and extent of use of the mark in connection with the
               goods and services with which the mark is used;

               (3) The duration and extent of advertising and publicity of the mark in
               this state;

               (4) The geographical extent of the trading area in which the mark is used;



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               (5) The channels of trade for the goods or services with which the mark is
               used;

               (6) The degree of recognition of the mark in the trading areas and
               channels of trade in this state used by the mark's owner and the person
               against whom the injunction is sought;

               (7) The nature and extent of use of the same or similar mark by third
               parties; and

               (8) Whether the mark is the subject of a state registration in this state, or a
               federal registration under the Act of March 3, 1881, or under the Act of
               February 20, 1905, or on the principal register.

       While no Tennessee state court has interpreted the factors set forth in Section 513(a)(1)-

(7), because “Tennessee and federal dilution statutes are very similar,” federal courts have

treated the analysis the same. AutoZone, Inc. v. Tandy Corp., 174 F. Supp. 2d 718, 734 (M.D.

Tenn. 2001), aff'd, 373 F.3d 786 (6th Cir. 2004).

       A plaintiff asserting a trademark dilution claim faces a difficult challenge because “the

bar for fame is high and that it is widely recognized that a party must make much more than a

showing of secondary meaning to pursue a claim of trademark dilution.” Moore v. Weinstein

Co., LLC, No. 3:09-CV-00166, 2012 WL 1884758, at *43 (M.D. Tenn. May 23, 2012), aff'd, 545

F. App'x 405 (6th Cir. 2013). Generally, only marks that carry “a substantial degree of fame,

such as ‘Dupont’ or ‘Buick’ or ‘Kodak,’ which are ‘highly distinctive, arbitrary or fanciful

marks’” qualify as famous. TCPIP Holding Co., Inc. v. Harr Comm., Inc., 244 F.3d 88, 100–101

(2nd Cir. 2001); Avery Dennison Corp. v. Sumpton, 189 F.3d 868, 875 (9th Cir. 1999)(“to meet

the ‘famousness’ element of protection under the dilution statutes, ‘a mark [must] be truly

prominent and renowned”)(quoting I.P. Lund Trading ApS v. Kohler Co., 163 F.3d 27, 46 (1st

Cir.1998)). More significantly, “where the marks at issue are not identical, the mere fact that

consumers mentally associate the junior user's mark with a famous mark is not sufficient to



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establish actionable dilution.” Moseley v. V Secret Catalogue, Inc., 537 U.S. 418, 433 (2003).

Further, when a plaintiff’s trademark dilution claims make nothing more than “conclusory

allegations [their claims] cannot survive a motion to dismiss.” Pearson Educ., Inc. v. C&N

Logistics, Inc., No. 3:18-CV-00438, 2018 WL 6528128, at *4 (M.D. Tenn. Dec. 12, 2018).

        Here, Plaintiffs have failed to sufficiently allege that their SMILESHOP mark is famous.

Instead, Plaintiffs have made the bald assertions that the SMILESHOP mark, despite being in use

for less than three years and only being used at a single location in Nashville, “is highly

distinctive and famous in the State of Tennessee.”        (Complaint, ¶ 57).     On its face the

SMILESHOP mark falls far short of being highly distinctive, arbitrary, or fanciful and, at best, is

suggestive of a store (or shop) where someone can have their smile improved. Consequently,

there is no legitimate basis for Plaintiffs’ specious claims that the SMILESHOP mark is both

famous and highly distinctive. Further, as Defendants’ SMILESTORE mark is not identical to

the SMILESHOP mark, Plaintiffs’ allegations are “not sufficient to establish actionable

dilution.” Moseley, 537 U.S. at 433. Accordingly, Plaintiffs’ claims for trademark dilution

should be dismissed.

        II.     COUNTS V AND VI MUST BE DISMISSED AS INFORMATION
                REMEMBERED BY BREMER AND HIS RELATIONSHIPS WITH SDC
                EMPLOYEES ARE NOT TRADE SECRETS

        In Counts V and VI, Plaintiffs allege causes of action for trade secret misappropriation

under the TUTSA and Federal Defend Trade Secrets Act (“FDTSA”), respectively. The basis

for Plaintiffs’ trade secret misappropriation claims are that Defendant Bremer, while working for

Align, met with Plaintiffs’ personnel and learned about Plaintiffs’ business.         Specifically,

Plaintiffs allege that:




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               “Bremer attended weekly calls with SDC employees, travelled to San Jose to

                meet the SDC team, and participated in the design and testing of the technical

                specifications required for Align’s manufacturing of SDC’s aligners” (Complaint,

                ¶ 4);

               Bremer “learned the ins and outs and multitude of benefits of running a retail

                store in connection with the sale of clear aligner therapy” (Id.);

               Bremer “learned SDC’s process – from the moment a consumer makes an

                appointment at a SMILESHOP retail store, through submission of an order, to the

                delivery of the aligners” (Id., ¶ 29);

               “Bremer spent time learning about the SDC/Align software portal” (Id., ¶ 30);

               “Bremer built a relationship with SDC and many of its employees” (Id., ¶ 31);

               “Bremer received the benefit of learning the inner workings of SDC’s business-

                including its workflows-through observation and regular communication with

                SDC employees.” (Id., ¶ 108).

       In their Complaint, Plaintiffs do not allege that Bremer improperly accessed any of

Plaintiffs confidential information. Similarly, Plaintiffs do not allege or attach a nondisclosure

or other confidentiality agreement signed by Bremer prior to his work with Plaintiffs. Putting

aside whether any of the information claimed by Plaintiffs qualifies as a trade secret under either

the TUTSA or FDTSA, it is clear that Plaintiffs’ allegations of trade secret misappropriation fail

as a matter of law because an individual’s “‘remembered information’ and relationships with

customers are not trade secrets.” PartyLite Gifts, Inc. v. Swiss Colony Occasions, 246 F. App'x

969, 973 (6th Cir. 2007); B & L Corp. v. Thomas & Thorngren, Inc., 162 S.W.3d 189, 215

(Tenn. Ct. App. 2004)(“the following types of information are not confidential: (1) Remembered


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information as to a business's prices; (2) The specific needs and business habits of certain

customers; and (3) An employee's personality and the relationships which he has established

with certain customers”).

       Here, as Plaintiffs have repeatedly stated, all of the information allegedly

misappropriated by Bremer was information he learned and as the result of relationships he built

with people at SDC. Accordingly, Plaintiffs claims for trade secret misappropriation against

Bremer, and by extension Smile Store, Smile Store Support Services, and MH DMD of TN,

should be dismissed.

       III.    PLAINTIFFS’ CLAIMS FOR PROCUREMENT OF BREACH OF
               CONTRACT,      INTERFERENCE     WITH    CONTRACTUAL
               RELATIONSHIPS, AND UNJUST UNENRICHMENT ARE PREEMPTED
               BY TUTSA

       Under the TUTSA, other causes of action are preempted if “proof of those causes of

action, in whole or in part, would constitute misappropriation of a trade secret.” Wachter, Inc. v.

Cabling Innovations, LLC, No. 3:18-cv-00488, 2019 WL 2011048, *11 (M.D. Tenn. May 7,

2019) quoting Vincit Enters., Inc. v. Zimmerman, No. 1:06-CV-57, 2006 WL 1319515, *7 (E.D.

Tenn. May 12, 2006); see also Tenn. Code Ann. § 47-25-1708(a)(“this part displaces conflicting

tort, restitutionary, and other law of this state providing civil remedies for misappropriation of a

trade secret”). In determining the scope of the preemption under the TUTSA, courts have

applied the “same proof” standard. Watcher, Inc., 2019 WL 2011048 at *11. Under the “same

proof” standard, “if proof of a non-[T]UTSA claim would also simultaneously establish a claim

for misappropriation of trade secrets, it is preempted irrespective of whatever surplus elements or

proof were necessary to establish it.” Id. quoting Hauck Mfg. Co. v. Astec Indus., Inc., 375 F.

Supp. 2d 649, 658 (E.D. Tenn. 2004). Consequently, “the [T]UTSA's preemption provision has

generally been interpreted to abolish all free-standing alternative causes of action for theft or


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misuse of confidential, proprietary, or otherwise secret information falling short of trade secret

status (e.g., idea misappropriation, information piracy, theft of commercial information, etc.).”

Wachter, Inc., 2019 WL 2011048 at *11 quoting Hauck, 375 F. Supp. 2d at 655.

       In Wachter, Inc. this Court found that claims by a data network infrastructure company

against its former employees and a competitor for tortious interference with business relationship

and unjust enrichment were preempted by TUTSA. 2019 WL 2011048, *10-13. In finding the

causes of action to be preempted, the Court reviewed the totality of the plaintiffs’ allegations to

determine that the “gravamen” of plaintiff’s claim “rests on the appropriation of confidential

information that would be considered a ‘trade secret’ under the TUTSA.” Id. at *12; see also

Hauck, 375 F.3d Supp.2d at 658 (“[P]laintiffs alleging theft or misuse of their ideas, date, or

other commercially valuable information are confined to a single cause of action provided by the

[T]UTSA”).

       Here, the “gravamen” of Plaintiffs’ claims for procurement/inducement of breach of

contract (Counts VII and VIII), intentional interference with existing/prospective business

relationships (Count IX), and unjust enrichment (Count X) is that Defendant Bremer

misappropriated Plaintiffs’ trade secrets, thus allowing Defendants to interfere with Plaintiffs’

contractual relationships with Align when Align improperly supplied aligners to Defendants.

For instance, Plaintiffs allege that “Bremer – who has no experience in the direct-to-consumer

clear aligner market prior to his interactions with SDC – misappropriated SDC’s trade secrets

and confidential information to create and operate his infringing SMILESTORE retail store.”

(Complaint, ¶ 6)(emphasis added). Further, with respect to their unjust enrichment claims,

Plaintiffs allege that “Defendants accepted the benefit of the [confidential] information by using




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it as a blueprint to create Smile Store and operate Smile Store’s website and the SMILESTORE

retail store.” (Complaint, ¶ 110)(emphasis added).

       When the totality of Plaintiffs’ allegations are reviewed, it is clear that “the gravamen of

Plaintiff's [procurement/inducement of breach of contract claims,] tortious interference claim

[and unjust enrichment claims] rest…on the appropriation of confidential information that would

be considered a ‘trade secret’ under the TUTSA.” Wachter, Inc., 2019 WL 2011048, at *12.

Because the proof for Plaintiffs’ claims in Counts VII-X would also require proving

misappropriation of Plaintiffs’ trade secrets, these claims are preempted by the TUTSA and

should be dismissed.

       IV.    PLAINTIFFS’ CLAIMS FOR PROCUREMENT OF BREACH OF
              CONTRACT    AND   INTERFERENCE WITH  CONTRACTUAL
              RELATIONSHIPS ARE CONTRADICTED BY THEIR OWN
              ALLEGATIONS

              A. From Their Own Allegations, It Is Clear That Defendants Do Not
                 Operate On A DTC Model Or Otherwise Substantially Similar To
                 Plaintiffs

       In their Complaint, Plaintiffs allege that Defendants operate a “on a direct-to-consumer or

‘DTC’ model.” (Complaint, ¶ 36). Consequently, since Align is purportedly prohibited by its

Operating Agreements and Supply Agreement with Plaintiffs from selling to other DTC stores,

Plaintiffs claim Defendants have caused Align to breach and/or interfered with Plaintiffs’

contractual relationships with Align. Unfortunately for Plaintiffs, the allegations of their own

Complaint clearly show that Defendants do not operate on a DTC model, but instead function as

a traditional orthodontic delivery model, i.e. patients come to an orthodontist’s office for an

exam, prescription, and follow-up visits. While Defendants incorporate the latest technologies to

offer patients the best service, they do not operate a DTC store nor operate in a substantially




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similar way to Plaintiffs. The fact that Defendants do not operate on a DTC model is apparent

throughout Plaintiffs’ Complaint.

        Courts need not accept as true “factual assertions that are contradicted by the complaint

itself, by documents upon which the pleadings rely, or by facts of which the court may take

judicial notice.” Perry v. NYSARC, Inc., 424 Fed. Appx. 23, 25 (2nd Cir .2011). Because

Plaintiffs’ allegations that Defendants operate on a direct to consumer model are contradicted by

the complaint’s exhibits, these allegations need not be taken as true and thus fail to state a

plausible claim under Twombly.

        First, Plaintiffs attach as exhibits2 portions of Smile Stores’ website that explicitly state

that “[e]stablishing a relationship with your doctor at SMILE STORE is the best way to achieve

the smile you are seeking.            That’s why each SMILE STORE has an on-site doctor…”

(Complaint, Ex. A, PageID#32)(emphasis added). Similarly, Plaintiffs include information from

Defendants’ website about how the Smile Store process works which states that a customer will

need to “[m]ake an appointment with your local SMILE STORE doctor when it’s convenient for

you. Begin wearing your aligners as directed by your doctor.” (Complaint, Ex. C, PageID#37)

(emphasis added).           Plaintiffs also include statements from Defendants’ website that

“[t]hroughout your treatment, consult with our on-site doctor for professional oversight about

your plan, your kit, your teeth, or any problems.” Id., PageID#38 (emphasis added). Unlike

Plaintiffs, which function using remote orthodontists on a DTC model, the attachments to

Plaintiffs’ Complaint make clear that Defendants operate as a traditional on-site, in-person

orthodontist practice.


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  Generally when there is a conflict between the allegations of the complaint and the exhibits attached thereto, the
exhibits prevail. Fayetteville Inv'rs v. Commercial Builders, Inc., 936 F.2d 1462, 1465 (4th Cir. 1991) citing 2A
Moore's Federal Practice, ¶ 10.06, p. 10–24.


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       In addition, the very parties to this action reflect that the Smile Store has an on-site

doctor. Defendant MH, D.M.D. of Tennessee, PLLC is a Tennessee professional limited liability

company. While Plaintiffs correctly state the corporate name MH, D.M.D. of Tennessee, PLLC,

in their allegations Plaintiffs conspicuously omitted MH’s status as a professional limited

liability company and instead allege that MH, D.M.D. of Tennessee, PLLC “is a Tennessee

member-managed limited liability company.” (Complaint, ¶ 14). The import of MH being a

Tennessee professional limited liability company is apparent because, under Tennessee law, a

PLLC can only be formed by licensed professionals to provide specified professional services.

See Tenn. Code Ann. § 48-248-101, et seq. And, in fact, it is owned by Dr. Miriam Hall, a

licensed orthodontist and employs Dr. Alicia Gordon, a licensed dentist, who works on site every

day at Smilestore. By naming MH, Plaintiffs have named Smile Store’s on-site doctor as a party

to this action further undermining their specious allegations that Defendants operate on a DTC

model or in a substantially similar fashion to Plaintiffs’ business.

       Because Plaintiffs’ allegations that Defendants operate on a DTC model or in a

substantially similar fashion to Plaintiff’s DTC operations are directly refuted by their own

Complaint, there is no legitimate or plausible basis for Plaintiffs’ claims that Align has breached

the Operating Agreements and Supply Agreement by selling aligners to Defendants.

Consequently, Counts VII-IX fail to state a claim and should be dismissed with prejudice.

               B. Plaintiffs’ Allegations Demonstrate That Defendants Did Not Know Of
                  The Operating Agreements And Supply Agreement When They Began
                  Operating Their Store

       In their Complaint, Plaintiffs baldly allege that Defendants knew of the Operating

Agreements and the Supply Agreement (collectively, the “Agreements”) when they opened their

store. (Complaint, ¶¶ 82, 92). Putting aside whether Defendant Bremer, who was not an officer



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or director of Align, was even aware the Agreements existed or and whether his knowledge can

be imputed to all Defendants, Plaintiffs’ own statements make clear that none of the Defendants

had knowledge of the alleged contractual restrictions on Align selling aligners to Defendants.

Significantly, in their own cease and desist letter Plaintiffs state they are aware Defendants will

“be selling Invisalign® clear aligner products,” but do not make any reference to the existence of

the Agreements or any restrictions on Align. (Complaint, Ex. D, PageID#40). In fact, despite

stating their knowledge of Defendants’ plans to sell Align’s products, Plaintiffs explicitly stated

that “SmileDirectClub does not object to your intent to launch a competing store.” Id.      These

statements within the Complaint destroy Plaintiffs’ claims for intentional interference with

contract and procurement of breach of contract.

       Under Tennessee law, in order to establish a claim for intentional interference with

contract, “a plaintiff must establish that: (1) a legal contract existed; (2) the wrongdoer knew of

the contract’s existence; (3) the wrongdoer intended to induce a breach of that contract; (4) the

wrongdoer acted maliciously; (5) the contract was actually breached; (6) the act complained of

was the proximate cause of the breach; and (7) damages resulted from the breach.” Pearson

Educ., Inc. v. C&N Logistics, Inc., No. 3:18-CV-00438, 2018 WL 6528128, at *6 (M.D. Tenn.

Dec. 12, 2018) quoting Jones v. LeMoyne-Owen Coll., 308 S.W.3d 894, 908 (Tenn. Ct. App.

2009)(emphasis added). Similarly, “[t]he elements of a cause of action for procurement of the

breach of a contract are: 1) there must be a legal contract; 2) the wrongdoer must have

knowledge of the existence of the contract; 3) there must be an intention to induce its breach; 4)

the wrongdoer must have acted maliciously; 5) there must be a breach of the contract; 6) the act

complained of must be the proximate cause of the breach of the contract; and, 7) there must have




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been damages resulting from the breach of the contract.” Myers v. Pickering Firm, Inc., 959

S.W.2d 152, 158 (Tenn. Ct. App. 1997).

       By Plaintiffs’ own statements to Defendants that they did not object to Defendants

opening a competing business selling Align’s products, Plaintiffs cannot establish that

Defendants knew of the restrictions on Align or intended to induce Align to breach those

restrictions. In fact, Plaintiffs’ own exhibited letter establishes it granted permission or at least

acquiesced to allow the very conduct it is now suing over—Defendants’ operation of a

competitive business selling Invisalign products. Because Defendants’ allegations are

contradictory, this Court is not required to accept them as true. Accordingly, Plaintiffs cannot

establish a plausible claim that Defendants knew they were inducing a breach of contract.

Accordingly, Counts VII-IX should be dismissed with prejudice.

       V.      BECAUSE PLAINTIFFS HAVE NOT WILLINGLY CONFERRED A
               BENEFIT ON DEFENDANTS, THEIR CLAIMS FOR UNJUST
               ENRICHMENT FAIL AS A MATTER OF LAW

       In Count X, Plaintiffs allege that Defendants have been unjustly enriched by the

knowledge Bremer learned through his work with SDC while he was employed by Align.

While, as discussed above, this claim is preempted by the TUTSA, Plaintiffs’ unjust enrichment

claim also fails under Tennessee law.

       In Tennessee, unjust enrichment is a “[q]uasi-contractual theory of recovery [which]

involves the willing conferring of a benefit by one party to the other and is contraindicated when

the benefit alleged is involuntarily conferred.” Watcher, Inc., 2019 WL 2011048 at *13 quoting

B&L Corp., 162 S.W.2d at 217-218 (emphasis in original).




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       Here, the entire gist of Plaintiffs’ Complaint is that they did not willingly confer the

benefit of their business model and operations on Defendants.             Accordingly, their unjust

enrichment claim fails as a matter of law.

       VI.     PLAINTIFFS’ NON-TRADEMARK CLAIMS SHOULD BE DISMISSED
               FOR FAILURE TO NAME AN INDISPENSABLE PARTY

       Pursuant to F.R.C.P. 12(b), “a party may assert the following defenses by motion:…(7)

failure to join a party under Rule 19.” F.R.C.P. 19, in pertinent part, states:

       A person who is subject to service of process and whose joinder will not deprive
       the court of subject-matter jurisdiction must be joined as a party if:

                                                      ***

               (B) that person claims an interest relating to the subject of the action and is
               so situated that disposing of the action in the person's absence may:

                       (i) as a practical matter impair or impede the person's ability to
                       protect the interest;

       Here, based upon Plaintiffs’ allegations, Align is an indispensable party whose absence

will impede and impair Align’s ability to protect its interest. Throughout their Complaint,

Plaintiffs allege that the Operating Agreements and the Supply Agreement severely restrict the

entities and customers to which Align can sell its aligners. Plaintiffs repeatedly allege that

Align, by supplying aligners to Defendants, who operate a traditional on-site, in-person

orthodontist practice, have breached the Operating Agreements and Supply Agreement.

Plaintiffs selectively reveal only two brief provisions of these agreements, to which none of the

Defendants are a party, while failing to provide the vast majority of their contents. While

Plaintiffs’ failure to provide the Court or Defendants with copies of these agreements not only

prevents determining the veracity or viability of Plaintiffs’ claims, if the Court ultimately

determines that Align has breached the agreements, that finding will significantly impair, if not



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destroy, Align’s interests. It is difficult to imagine any market available to Align for the sale of

its aligners if Align’s sales to Defendants’ licensed orthodontist and on-site dentist are deemed to

be a breach of the Operating Agreements and Supply Agreement. Accordingly, if Plaintiffs are

permitted to proceed on their claims and succeed, they have gutted Align’s market and

successfully stifled their most significant competition, without Align being present to defend

itself and its interests. Align’s absence in this matter will severely impair its interests such that

Align is an indispensable party under F.R.C.P. 19 and Counts III and V-X of Plaintiffs’

Complaint should be dismissed pursuant to F.R.C.P. 12(b)(7).

                                         CONCLUSION

       For the foregoing reasons, Counts III and V-X of Plaintiffs’ Complaint should be

dismissed with prejudice.

                                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 1, 2019, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system which will send a notice of electronic filing to
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